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      IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, SOUTHERN DIVISION


UNITED STATES OF AMERICA              )
                                      )
       v.                             )     CRIMINAL ACTION NO.
                                      )        1:08cr236-MHT
ALFRED BERNARD JONES                  )             (WO)

                           OPINION AND ORDER

       Following the passage of the Fair Sentencing Act of

2010, Pub. L. 111-220, and the United States Sentencing

Commission’s issuance of retroactive sentencing guidelines

for    crack     cocaine     cases,       this   court   established       a

Retroactivity       Screening      Panel    to   determine     whether     a

defendant might be eligible for a reduction of sentence.

Upon consideration of the Retroactivity Screening Panel,

entered this date, and after and independent and de novo

review of the record, it is ORDERED that defendant Alfred

Bernard Jones should not receive a reduction in sentence

pursuant to the Fair Sentencing Act of 2010.

       DONE, this the 26th day of March, 2012.

                                      /s/ Myron H. Thompson
                                   UNITED STATES DISTRICT JUDGE
